Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 1 of 8

AO 98 (Rev. lZ/E l) Appearance Bond

 

UNITED STATES DIsTRiCT CoURT
for the
Southern District of New York

 

United States of America )
V. )
)
JOEL MARGULIEs ) 17CR63 8

Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, JOEL MARGUL,lES (dej%ndam), agree to follow every order of this court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if I fail:
( § ) to appear for court proceedings;
( ) if convicted, to surrender to serve a sentence that the court may impose; or
( § ) to comply with ali conditions set forth in the Order Setting Conditions of Release.

 

 

Type of Bond
( § ) (l) This is a personal recognizance bond.
( l:l ) (2) This is an unsecured bond of $ 59,000 _
( § ) (3) This'is a secured bond of $ , secured hy:
( l:i ) (a) $ ______ , in cash deposited With the court.

( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(descrz'be the cash or other property including claims on it ~ such as a lien, n'zort‘gcngel or loan - and attach proof of
ownership and value):

HOME A'__I` 723 CHEROKEE Ct, MUNFRESBORO, TN

 

 

If this bond is secured by real property, documents to protect the secured interest may befiled of_record. n

( |:i ) (C) a ball bond With a SOIVGIIT SUI`€l'y (a{!ach a copy ofthe bail bond, or describe il and identify the sw'ety)!

 

 

 

 

Forfeiture or Release of the Bond

Forfeiture ofthe Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement The court may immediately order the amount of the bond surrendered to the United States, including the
Secul'ity for the bond, if the defendant does not comply with the agreement At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 2 of 8

Page 2

AO 98 (Rcv. lZfll) Appearance Bonci

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (i) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Deciarations

Ownership oftne Properiy. l, the defendant ~ and each surety - declare under penalty of perjury that:

(l) all owners of the property securing this appearance bond are inciuded on the bond;

(2) the property is not subject to claims, except as described above; and

(3) I wiil not sell the property, allow further claims to be made against it, or do anything to reduce its value
While this appearance bond is in effect

Acceptance. I, the defendant- and each surety - have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. l agree to this Appearance Bond.

I, the defendant- and each surety- declare under penalty of perjury /__;that\__this` rn x ation is true. (See 2§ U.S.C.§ 1746.)

ap tecum

 

 

 

 

Date: 10/25/17 JoEL MAQ/ /r:ms
(:// De_fendanr." s signar'nre
Snrer‘y/property owner - printed name Srrr'ei)){or'operiy owner - .s'ignar‘nre and date
Snreiy/proper!y owner -prinied name Snrety/properry owner - signature and date
Snret)_i/properiy owner ~ printed name Sureiy/properrj) owner -.rignar‘ure and date
CLERK OF CO URT

Date: 10/25/17 _// t M* . warner §

Signar‘nre ofClerk or Depur‘y Cierlc

Approved.
Date: 10/25/17 M\

f A USA signature

 

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 3 of 8

ADDITIONAL CONDITIONS OF RELEASE
( ) (s) $50,000 PRB SECURED BY A HOME AT 723 CHEROKEE CT., TRAVEL RESTRICTED TO CON'I`INENTAL U. S.;
SURRENDER TRAVEL DOCUMENTS & NO NEW APPLICATIONS; PRETRIAL SUPE.RVlSION AS DIRECTED; DRUG
TESTING/TREATMENT AS DIRECTED BY PRETRIAL; REFRAiN FROM CONDUCT ALLEDGED IN TI'IIS CASE; NO
CONTACT Wl'l`H CODEFENDANTS UNLESS IN PRESENCE OF COUNSEL. DEFENDANT SHALL CONFIRM WHAT lS
NECESSARY TO GET MONEY OUT OF IRS ACCOUNT. DEFENDAN'}` IS TO BE R_ELEASED ON OWN SIGNA'L`URE WITH

agMAn~rrNo coNDITroNs To as MET ar 11/15/17.

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 4 of 8

A(j l99C (Rev. 09/08) Advice ofPenalties Page of ____ ___ Pages

ADVICE OF PENAL'I`IES AND SANCTIONS

 

TO THE DEFENDANT; JOEL MARGULIES 10/25/17 DEFENDANT RELEASEI}
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a frne, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten

years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

lt is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing

lf, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:

(i) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more ~ you will be fined

not more than 3250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not

more than 3250,000 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor »~ you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant
l acknowledge that l am the defendant in this case and that I am aware of the conditions of release. l promise to obey all

conditions of release, to appear as directed, and surrender to serve any sentence imposed. l am aware of the penalties and sanctions
set forth above.

 
 

(

_ _ __ 65 ,.1 _>,\M/(/Lj»
/ _;' j Defend© Sr`g>r rare

i

_ /." __ ___»

\_//

 

/ Ciry and Srare ii

Directions to the United States Marshal

( l:l) The defendant is ORDERED released after processing

( l:l) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with ali other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified

Date: ______,_r_

 

Judicia{ Q[/icer 'sSignarrrre

 

Prr`nied name and fide

 

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 5 of 8

AO 199A (Rev. lZfll) Order Setting Conditions of Release Page l of __ _ __i Pages

 

UNITED STATES DrsTRrCT CoURT
for the

Southern District of New Yorl<

United States of America
v.

Case No. 17CR638

JOEL MARGULIES

Dajzndnnf

 

ORDER SETTING CONDITIONS OF RELEASE
[T lS ORDERED that the defendant’s release is subject to these conditions:
(l) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone nulnber.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

 

The defendant must appear at: _
` Plcrce

 

OI`l

 

Dcr!e and Ti`me

if blank, defendant will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

 

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 6 of 8

AO 199B (Rev. 12{11) Additiona| Condilions ofRelcase Pi\g€ , ,Of j PHECS
ADDITIONAL CONDITIONS OF RELEASE

lT lS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( l:l ) (6) The defendant is placed in the custody of`:

Person or organization

Addl‘CSS (oiily ifabmie is an organizair'i)n)n n h

City and state w n " ”l`el. No.
who agrees to (a) supervise the defendan't-,H(b) use every effort tow-assure the defendan't’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s eustody.

 

 

 

 

Signed.‘

 

Crisiodi'an Dare
( le) (7) The defendant must:
(@ ) (a) submit to supervision by and report for supervision to the PRETRIAL SUPERVISION AS DIRECTED ,
telephone number , no later than n ' w
(l'_'| ) (b) cciiiincc cr actively scci< cmpic§/`ii`ichi.
(I:] ) (c) continue or start an education program
(lX] ) (d) surrender any passport to: PRETRIAL SERVICES
( § ) (e) not obtain a passport or other international travel document
(IE ) (f) abide by the following restrictions on personal association, residence, or travel.' CQ_NTINENTAL U, S>

 

 

 

 

 

(I:l ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

 

 

(tj ) nn `i`gci medical cr psychiciric ircaimcnc:

 

 

(I:l ) (i) return to custody each _ at o’clock after being-released at y _ __ o’clock for employment, schooling_,__
or the following purposes'.

 

 

(i:l ) (i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.
(l:l ) (k) not possess a firearm, destructive device, or other weapon.
(I:I) (i) not use aleohol( i:] )at all( \:i )excessively.
(i:l ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.
(IE ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing systern, and/or any form of
prohibited substance screening or testing The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
accuracy of prohibited substance screening or testingl _
([:l ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.
(Ei ) (p) participate in one of the following location restriction programs and comply with its requirements as directed
(El ) (i) Curl`ew. You are restricted to your residence every day( l:] ) from _ __i to i_ , or ( l:] )as
directed by the pretrial services office or supervising otfrcer; or

(L____l ) (ii) Home Betentlon. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court~ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(l:l ) (iii) Home lncarceration. You arc restricted to 24-hour-a-day lock~down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(l:l ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided
(lj ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or

supervising officer,

(l:l ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning or traffic stops.

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 Page 7 of 8

Aoi99c `(Rc'v. 09/08) A¢Ivicc chcnaiiics Pagc _cr __ rach

 

DISTRIBUT!ON: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSI-IAL

Souillern District of .'~i‘ew york

The Bro:ix

Matlhattan

Westchester
Dcckland
Dutcll less

Orallee

Dutnelm
Sullivan

  
 
 
 
 
 
 
 
 
 
 
 
 
   

Easte rn District of drew York

Brooklnl minus County]
Queens (Queens Coul\tv]
itaten island rnlcnmond County|
Lcmr island {Nassau ali Suffc-lk}

 

 

Case 1:17-cr-00638-RWS Document 42 Filed 10/25/17 P ge 8 of8

bodKiirNc. \`\ (iRLO:>% per /JO€.i Qlfl/d( )\lé)-
AUsAQdUi al ied/j DEF. s co magill ilQ (_"'SCC\Y\VC_\J

n R_ETAINED SFEDERAL DEFENDERS l:l C}A c PRESENTMENT ONLY

 

 

INTERPRETER NEEDED
IJ _DEFEI§D NT WAIVES PRETRIAL REPORT
~'2, i
E\ Rule 5 ij{ule 9 l'_'l Rule 5(c)(3} ill Detention I-lrg. DATE OF ARREST 3 7 C| VOL. SURR.
_ TIME oFARREsT § M\ DoN wm"r
U Oihcr: 'rnvin oF PRESENTMENT 3 2,@ ‘p-
§ALLIL§M

l;l SEE SEP. ORDER
D DETEN'I'ION ON CONSENT WfO PREJ'UDICE C| DETENTION: RISK OF FLIGHT/DANGER Ci SEE TRANSCRIPT
l:i DETENI`ION HEAR]NG SCHEDULED FOR:
|:l AGREED CONDITIONS OF R_ELEASE
|:| DEF. REI,..EA|S D ON OWN RECOGNIZANCE ;l,(‘_h_,€_r@<_€ l?(.“r-O

)i;fls §[§l PRB r:J Fru>
._Cl secuREDBY$ cAerPnoPER'rv. 'l`i'¢“/‘~‘¢J '1.23\}r CL\.»~.-c’f‘\en C~a_/\/ //\-'

ranan RESTRICTED ro sDNY/EDNY/ C." v "‘t f "° 3 “" 7 H L
cl EWORARY ADDrTroNAL TRAVEL UPoN CoNsENT or AUSA a APPROVAL or PRETRIAL senvicss
sURRENr)ER TRAVEL DocUMeNrs r& No uaw APPLicArIoNs)

 

B/ RE'I`RlAL SUPERVISION: L_.l REGULAR g STRlCT .KAS DlRECTED BY PRETRIAL SERVICES
DRUG TESTINGFI`REATMT AS D[RECTED BY PTS L_.\ N£ENTAL HE`,ALTH EVAL/TREATMT AS DlREC"I`ED BY PTS
' |;l DEF. TO SUBM]T TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTH\IG/TREATMENT

U HOME INCARCERATION |:l HOl\/[E DETENTION |:l CURFEW l:l ELECTRONIC MONITORING l:| GPS
l:l DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERM]`NED BY PRETR]AL SERVICES

l'_"l DEF. TO CONTINUE OR SEEK El\/JPLOYl\/IENT [OR] l'_`l DEF. TO CONI`H\JUE OR START EDUCATION PROGRAM
g DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTI-IER WEAPON

l:i DEF. TO BE DE'I`AINED UNTIL ALL CONDITIONS ARE N[E`.T
DEF. TO BE R.ELEASED ON OWN SIGNATURE, PLUS TH'E FOLLOWING CONDITIONS:
;REMA]'N[NG CONDITIONS TO BE l\/[ET BY: [I ‘-|i‘§ -l 2

 

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

ida M,%\-z_»-- ~rl"<'ow-~ <_)i\~okwc>l W\ C.c'\-(p/&Wc./f
gangan ~i/< “'Lv@@y</s-#U;/ cJ/ ct fly
C,c\»~€@rw\ cccch ca ./i,`ii.@t/M fred id "*-’/l_ /t‘~'¢`v~i;j
@“L»»ip C`§ ill/gi C""</@( \\M

D/DEF.ARRAIGNED;PLEADS No GULLTY ‘Fljcor~rFERENcE BEFoRED.J. oN l l” Z' l 7
‘ l.'.i DEF. wArvEs mDrcTMEN'r . k _ ._.
‘ sPEnDY TRIAL runs EXCLUDED uNDER 13 u.s.c. § arci(ri)n) UN'rrL l l ' l l

For Rule 5§e)l3) Cases:
ij lDEN'I'I'I`Y I~IEAR]NG WAIVED Cl DEFENDANT 'I`O BE REMOVED

Cl PRELEM]NARY HEARING lN SDNY WAIVED l:l CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARING DATE: |:l ON DEFENDANT’S CONSENT

M 7/§ "/’ s

UN`ITED STATES MAGISTRATE JUDGE, S.D.N.Y.

Hl l § (orr'gix\al)j CUURT FILE EI_EK - U.S. ATI`ORNEY‘S OFFlCE fELl £!W - U.S. MARSHAL QREEN - PR£TREAL SERVICES AGENCY
Rev’d 2016 ]]~I - 2

DATE:

 

 

 

